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                                                               United States Bankruptcy Court
                                                                     Eastern District of Pennsylvania
 In re      Cynthia Cartwright                                                                                   Case No.   15-10290
                                                                                    Debtor(s)                    Chapter    13



                                                      CHAPTER 13 PLAN - THIRD AMENDED
1.    Payments to the Trustee: The future earnings or other future income of the Debtor is submitted to the supervision and control of
      the trustee. The Debtor (or the Debtor's employer) shall pay to the trustee the sum of $497.42 per month for 21 months, then
      $529.00 per month for 39 months.

      Total of plan payments: $31,076.82

2.    Plan Length: This plan is estimated to be for 60 months.

3.    Allowed claims against the Debtor shall be paid in accordance with the provisions of the Bankruptcy Code and this Plan.

      a.    Secured creditors shall retain their mortgage, lien or security interest in collateral until the earlier of (a) the payment of the
            underlying debt determined under nonbankruptcy law, or (b) discharge under 11 U.S.C. § 1328.

      b.    Creditors who have co-signers, co-makers, or guarantors ("Co-Obligors") from whom they are enjoined from collection
            under 11 U.S.C. § 1301, and which are separately classified and shall file their claims, including all of the contractual interest
            which is due or will become due during the consummation of the Plan, and payment of the amount specified in the proof of
            claim to the creditor shall constitute full payment of the debt as to the Debtor and any Co-Obligor.

      c.    All priority creditors under 11 U.S.C. § 507 shall be paid in full in deferred cash payments.


4.    From the payments received under the plan, the trustee shall make disbursements as follows:

      a.    Administrative Expenses
            (1) Trustee's Fee: 10.00%
            (2) Attorney's Fee (unpaid portion): $1,500.00 to be paid through plan in monthly payments
            (3) Filing Fee (unpaid portion): NONE

      b.    Priority Claims under 11 U.S.C. § 507

            (1) Domestic Support Obligations

                  (a) Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim.

                  (b) The name(s) and address(es) of the holder of any domestic support obligation are as follows. See 11 U.S.C. §§
                  101(14A) and 1302(b)(6).

                     -NONE-

                  (c) Anticipated Domestic Support Obligation Arrearage Claims. Unless otherwise specified in this Plan, priority claims
                  under 11 U.S.C. § 507(a)(1) will be paid in full pursuant to 11 U.S.C. § 1322(a)(2). These claims will be paid at the same
                  time as claims secured by personal property, arrearage claims secured by real property, and arrearage claims for assumed
                  leases or executory contracts.

                          Creditor (Name and Address)                                Estimated arrearage claim         Projected monthly arrearage payment
                          -NONE-

                  (d) Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support obligation claims are assigned to, owed
                  to, or recoverable by a governmental unit.

                          Claimant and proposed treatment:                 -NONE-




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            (2) Other Priority Claims.

                          Name                                                       Amount of Claim          Interest Rate (If specified)                Total Paid
                          Internal Revenue Service                                      5,805.00                           0.00%                          5,805.00
                          Pennsylvania Department of Revenue                              691.00                           0.00%                            691.00

      c.    Secured Claims

            (1) Pre-Confirmation Adequate Protection Payments. Pre-confirmation adequate protection payments to the following
            Creditors holding allowed claims secured by a purchase money security interest in personal property shall be paid by the
            Trustee through the plan as provided below. Adequate protection payments shall not accrue or be paid until the Creditor files
            a proof of claim. The principal amount of the Creditor's claim shall be reduced by the amount of the adequate protection
            payments remitted.

                Name                                                       Description of Collateral                           Pre-Confirmation Monthly Payment
                -NONE-

            (2) Secured Debts Which Will Not Extend Beyond the Length of the Plan

                  (a) Secured Claims Subject to Valuation Under § 506. The Debtor moves the Court to value collateral as follows
                  according to 11 U.S.C. § 506(a). Each of the following secured claims, if allowed, shall be paid through the plan in
                  equal monthly payments set forth below, until the secured value or the amount of the claim, whichever is less, has been
                  paid in full. Any remaining portion of the allowed claim shall be treated as a general unsecured claim. Any claim with a
                  secured value of $0 shall be treated as a general unsecured claim.

                                                                     Proposed Amount of                                        Interest Rate
                Name/Description of Collateral                       Allowed Secured Claim               Monthly Payment       (If specified)             Total Paid
                -NONE-

                  (b) Secured Claims Not Subject to Valuation Under § 506. Each of the following claims, if allowed, shall be paid
                  through the plan in equal monthly payments set forth below, until the amount of the claim as set forth in the Creditor's
                  proof of claim has been paid in full.

                                                                     Proposed Amount of                                        Interest Rate
                Name/Description of Collateral                       Allowed Secured Claim               Monthly Payment       (If specified)             Total Paid
                -NONE-

            (3) Secured Debts Which Will Extend Beyond the Length of the Plan

                                                                                                                                 Interest Rate            Total Paid
                Name/Description of Collateral                           Amount of Claim                   Monthly Payment       (If specified)   (during plan term)
                -NONE-

      d.    Unsecured Claims
            (1) Special Nonpriority Unsecured: Debts which are co-signed or are non-dischargeable shall be paid in full (100%).

                                                                                                                        Interest Rate
                          Name                                                                          Amount of Claim (If specified)                    Total Paid
                          -NONE-

            (2) General Nonpriority Unsecured: Other unsecured debts shall be paid pro rata, with no interest if the creditor has no
                Co-obligors, provided that where the amount or balance of any unsecured claim is less than $10.00 it may be paid in full.


5.    The Debtor proposes to cure defaults to the following creditors by means of monthly payments by the trustee:

                                                                                                       Amount of Default    Interest Rate
                        Creditor/Description of Collateral                                               to be Cured        (If specified)                Total Paid
                        Nationstar Mortgage, LLC                                                             19,967.15          0.00%                    19,967.15
                        Location: 332 W. 21st Street, Chester PA 19013

6.    The Debtor shall make regular payments directly to the following creditors:

                Name/Description of Collateral                                 Amount of Claim                Monthly Payment            Interest Rate (If specified)
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                Name/Description of Collateral                              Amount of Claim             Monthly Payment       Interest Rate (If specified)
                Nationstar Mortgage, LLC                                       60,368.85                       452.17                      2.00%
                Location: 332 W. 21st Street, Chester PA
                19013

7.    The employer on whom the Court will be requested to order payment withheld from earnings is:
      NONE. Payments to be made directly by debtor without wage deduction.


8.    The following executory contracts of the debtor are rejected:

                Other Party                                                        Description of Contract or Lease
                -NONE-

9.    Property to Be Surrendered to Secured Creditor

                Name/Description of Collateral                              Amount of Claim         Description of Property
                -NONE-

10. The following liens shall be avoided pursuant to 11 U.S.C. § 522(f), or other applicable sections of the Bankruptcy Code:

                Name/Description of Collateral                              Amount of Claim         Description of Property
                -NONE-

11. Title to the Debtor's property shall revest in debtor on confirmation of a plan.

12. As used herein, the term "Debtor" shall include both debtors in a joint case.

13. Other Provisions:

 Date November 3, 2016                                                 Signature   /s/ Cynthia Cartwright
                                                                                   Cynthia Cartwright
                                                                                   Debtor




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